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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

  Case No. 8:22-cv-01562-JWH-KESx                                Date: October 15, 2024

 Title: SARA SAFARI, et al. v. WHOLE FOODS MARKET, INC.


 PRESENT:

         THE HONORABLE KAREN E. SCOTT, U.S. MAGISTRATE JUDGE
             K. Hopkins for
             Jazmin Dorado                   CS 10/15/24
            Courtroom Clerk                   Court Reporter

        ATTORNEYS PRESENT FOR                          ATTORNEYS PRESENT FOR
              PLAINTIFF:                                    DEFENDANT:
               Gretchen Elsner                                 David Adams
               Paige Tomaselli




       PROCEEDINGS:                              Hearing re Discovery Motions
                                                 (Dkts. 170 and 173)


        Case is called. Counsel state their appearances. Oral arguments are heard.
 Plaintiff presents a USDA article during oral argument, attached hereto for reference,
 and a chart (Bates number WFM_000001), marked confidential and not attached.
 Plaintiff also presents Dkt. Nos. 130, 170-4, 170-22, 170-23, 170-24, and 170-25 in
 support of argument. The Court rules on the motions as stated on the record.




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  MINUTES FORM 11                                                     Initials of Deputy Clerk kh
  CIVIL-GEN
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